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AO 472 Order of Detention Pending Trial


                                             United States District Court
                                                WESTERN DISTRICT OF MICHIGAN

UNITED STATES OF AMERICA                                                    ORDER OF DETENTION
V.                                                                          PENDING TRIAL
Redera Douchon Davis                                                        Case Num ber: 1:07 Cr 06

         In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been held. I conclude that the following
facts require the detention of the defendant pending trial in this case.

                                                          Part I – Findings of Fact
            (1) The defendant is charged with an offense described in 18 U.S.C. § 3142(f)(1) and has been convicted of a          federal
                offense      state or local offense that would have been a federal offense if a circumstance giving rise to federal
                jurisdiction had existed – that is
                     a crime of violence as defined in 18 U.S.C. § 3156(a)(4).
                     an offense for which the maximum sentence is life imprisonment or death.
                     an offense for which a maximum term of imprisonment of ten years or more is prescribed in

                     A felony that was committed after the defendant had been convicted of two or more prior federal offenses described
                     in 18 U.S.C. § 3142(f)(1)(A)-(C), or comparable state or local offenses.
            (2) The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state
                or local offense.
            (3) A period of not more than five years has elapsed since the G date of conviction G release of the defendant from
                imprisonment for the offense described in finding (1).
            (4) Findings Nos. (1),(2) and (3) establish a rebuttable presumption that no condition or combination of conditions will
                reasonably assure the safety of (an) other person(s) and the community. I further find that the defendant has not
                rebutted this presumption.

                                                          Alternate Findings (A)
     ✘      (1) There is probable cause to believe that the defendant has committee an offense
                 ✘ for which a maximum term of imprisonment of ten years or more is prescribed in .the Controlled Substances Act
                      under 18 U.S.C. § 924(c).
     ✘      (2) The defendant has not rebutted the presumption established by finding (1) that no condition or combination of conditions
                will reasonably assure the appearance of the defendant as required and the safety of the community.

                                                          Alternate Findings (B)
            (1) There is a serious risk that the defendant will not appear.
            (2) There is a serious risk that the defendant will endanger the safety of another person or the community.


                                           Part II – W ritten Statement of Reasons for Detention
            I find that the credible testimony and information submitted at the hearing establish by

     defendant and counsel waived a detention hearing on the record. Defendant has therefore not rebutted the statutory presumption.




                                               Part III – Directions Regarding Detention
         The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a
corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending
appeal. The defendant shall be afforded a reasonable opportunity for private consultation with defense counsel. On order of a court of
the United States or on request of an attorney for the Government, the person in charge of the corrections facility shall deliver the
defendant to the United States marshal for the purpose of an appearance in connection with a court proceeding.

April 17, 2003                                                     /s/ Joseph G. Scoville
Date                                                               Signature of Judge


                                                                    Joseph G. Scoville, United States Magistrate Judge
                                                                   Name and Title of Judge
